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                                                                         1 of 2
            USCA11 Case: 18-10921 Date Filed: 11/20/2020 Page: 1 of 2
                                                                                    Nov 20, 2020
                           UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT                                                    MIAMI

                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                            56 Forsyth Street, N.W.
                                            Atlanta, Georgia 30303

  David J. Smith                                                                    For rules and forms visit
  Clerk of Court                                                                    www.ca11.uscourts.gov


                                         November 20, 2020

  Clerk - Southern District of Florida
  U.S. District Court
  400 N MIAMI AVE
  MIAMI, FL 33128-1810

  Appeal Number: 18-10921-HH
  Case Style: Eric Kirchein v. Pet Supermarket, Inc.
  District Court Docket No: 0:16-cv-60090-RNS

  The enclosed copy of the Clerk's Entry of Dismissal pursuant to appellant's motion to dismiss is
  issued as the mandate of this court. See 11th Cir. R. 42-1(a).

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Christopher Bergquist, HH/lt
  Phone #: 404-335-6169

  Enclosure(s)




                                                            DIS-3 Letter and Entry of Dismissal Vol
Case 0:16-cv-60090-RNS Document 84 Entered on FLSD Docket 11/23/2020 Page 2 of 2
            USCA11 Case: 18-10921 Date Filed: 11/20/2020 Page: 2 of 2




                         IN THE UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT

                                           ______________

                                          No. 18-10921-HH
                                          ______________

  ERIC KIRCHEIN,
  individually and on behalf of all others similarly situated,

                                                      Plaintiff - Appellant,

  versus

  PET SUPERMARKET, INC.,
  a Florida corporation,

                                               Defendant - Appellee.
                         __________________________________________

                            Appeal from the United States District Court
                                for the Southern District of Florida
                         __________________________________________

  ENTRY OF DISMISSAL: Pursuant to Appellant Eric Kirchein's motion for voluntary
  dismissal, FRAP Rule 42 and 11th Cir. R. 42-1(a), the above referenced appeal was duly
  entered dismissed on this date, effective November 20, 2020.

                                         DAVID J. SMITH
                              Clerk of Court of the United States Court
                                 of Appeals for the Eleventh Circuit

                            by: Christopher Bergquist, HH, Deputy Clerk

                                                                 FOR THE COURT - BY DIRECTION
